        Case 1:18-cv-09035-JPO-GWG Document 63 Filed 04/10/19 Page 1 of 1


                                    Proskauer Rose LLP Eleven Times Square New York, NY 10036-8299




                                                                                                                     Neil H. Abramson
April 10, 2019                                                                                                       Member of the Firm
                                                                                                                     d +1.212.969.3001
VIA ECF                                                                                                              f 212.969.2900
                                                                                                                     nabramson@proskauer.com
                                                                                                                     www.proskauer.com
Hon. J. Paul Oetken
United States District Court
Southern District of New York
40 Foley Square, Room 415
New York, New York 10007

         Re: Angel Hernandez v. The Office of the Commissioner of Baseball and Major League
         Baseball Blue, Inc., No. 18 Civ. 09035 (JPO) (GWG)

Dear Judge Oetken:

        On behalf of the Defendants in the above-referenced matter, we write to correct a
misstatement contained in Plaintiff’s April 9, 2019 filing. (Dkt No. 62.) In Defendants’
Memorandum of Law in Opposition to Plaintiff’s “Motion for Declaratory Judgment,” Defendants
cited Ollie v. University of Connecticut, No. 18-cv-2070 (KAD), 2019 WL 441160 (D. Conn. Feb.
4, 2019). (Dkt No. 59, at 13–16 & 19.) In Plaintiff’s Reply Memorandum, filed yesterday, Plaintiff
stated that Defendants “fail[] to mention [that] the Ollie case is now on appeal to the Second Circuit
Court of Appeals.” (Dkt No. 62, at 9, n.4.) That assertion is incorrect. On March 28, 2019—five
days before Defendants filed their opposition papers—the parties in Ollie filed a stipulation
withdrawing the appeal pursuant to Federal Rule of Appellate Procedure 42, and the mandate
issued on that same date. Ollie v. Univ. of Connecticut, No. 19-526, Dkt Nos. 33–34 (2d Cir. Mar.
28, 2019).

Respectfully submitted,


/s/ Neil H. Abramson
Neil H. Abramson
PROSKAUER ROSE LLP
Attorney for Defendants

cc: All Counsel of Record (via ECF)




   Beijing | Boca Raton | Boston | Chicago | Hong Kong | London | Los Angeles | New Orleans | New York | Newark | Paris | São Paulo | Washington, DC
